     4:15-cr-00868-RBH       Date Filed 07/26/16       Entry Number 70         Page 1 of 12




                                                      ,         RECEIV£O'
                  IN THE DISTRICT COURT OF THE UNITlfDU~K~'FLORENCL'SC
                      FOR THE DISTRICT OF SOUTH CARo.LINA
                     F/ort"c:e.. eOLffllB3!A DIVISION   ,201~ JUL 26 AK'. itS
                                                                   ,
                                                                  '\
UNITED STATES OF AMERICA                           Criminal No! 4:15-868

                       v.
                                                                PLEA AGREEMENT
BRIAN KEITH PERDUE

                                  General Provisions,




2016,
        This PLEA AGREEMENT is made this

         between the United States of America, ,as represented by'
                                                                        daY.Ofk'
Acting        United     States        Attorney   BETH       DRAKE,         Assistant    United

States Attorney John C.                 Potterfieldi        the Defendant,        BRIAN KEITH

PERDUE,and pefenaant's attorney, Ashley Bruce Nance.

        IN CONSIDERATION of              the   mutual 'promises made' herein,                 the

part                   as follows:

1.      The     Defendant    agrees       to   plead     guilty        to    Count   1   of   the

        Indictment now pending, which charges "Conspiracy to Commit

        Application Fraud,        /I    a violation of Title 18,                United States

        Code,    §   371.

        In order to sustain its, burden of proof,                           the Government is

required to prove the following:



                                            Count 1     .

        (A)      A conspiracy, agreement, or understanding to do
                something which federal law prohibits!. as is                             ibed
     4:15-cr-00868-RBH      Date Filed 07/26/16   Entry Number 70    Page 2 of 12




              in the information, was formed, reached, or entered
              into by two or more people; "


      (B)     At some·time during the existence of the conspiracy,
              the defendant knew     the conspiracy and willfully
              jo{hed ,the conspiracy; and;        "


      (C)     During the time of the conspiracy or agreement and
              within the limitations period, one of the members of
              the' conspiracy knowingly performed, in the District of
              South Carol    ,one of the overt acts charged in·the
              information in order to accomplish the object or
              purpose of the agreement.




The penalty for this offense is:

      Up to five years in prison, a fine of "up to $25 0,000.00,
      supervised release of up to th ree years, and a special
      assessment of $100.00




2.    The     Defendant         understands       and   agrees      that     monetary

      penal         [i.e.   f    special   assessments,      restitution,       fines

      and other payments required under the sentence]                      imposed by

      the Court are due immediately and subject to enforcement by

      the United States as civil judgments, pursuant to 18 USC §

      3613.     The Defendant also understands that payments made in

      accordance with installment schedules set by the Court are
4:15-cr-00868-RBH        Date Filed 07/26/16         Entry Number 70              Page 3 of 12




 minimum payments           only and do              not        preclude      the       government

 from seeking to enforce the                    judgment against other assets

 of    the   defendant       at    any    time,        as       provided in             18    USC    §§

 3612, 3613 and 3664(m).

 The Defendant           further    agrees       to enter              into       the    Bureau of

 Prisons       Inmate        Financial               Responsibility                 Program          if

 sentenced     to    a    term     of    incarceration with                   an unsat             fied

 monetary penalty.             The Defendant                further         understands            that

 any    monetary         penalty        imposed                  not       dischargeable             in

 bankruptcy.

        A.    Special Assessment:                Pursuant to 18 U. S. C.                      §3013,

               the   Defendant           must    pay        a     special         assessment         of

               $100.00       for    each        felony          count       for    which       he    is

               convicted.          This special                           sment must be paid

               at or before the time of the guilty plea hearing.

        B.    Restitution:          The     Defendant                agrees       to    make       full

               restitution under 18 U. S. C.                         § 3556        in an amount

               to    be    determined           by    the        Court      at     the       time    of

               sentencing,         which        amount          is    not     limited         to    the

               count(s)       to which the Defendant pled guilty,                                   but

              will        include        restitution                 to     each        and    every

               identifiable victim who may have                               been harmed by

              his        scheme     or     pattern              of     criminal          activity,

              pursuant        to    18     U.S.C.           §    3663.            The    Defendant


                                          -3­
     4:15-cr-00868-RBH            Date Filed 07/26/16      Entry Number 70        Page 4 of 12




                      agrees to cooperate fully with the Government in

                      identifying all victims.

              C.      Fines:        The Defendant understands                 that        the    Court

                      may impose a          fine pursuant to 18 U. s. C.                    §§    3571

                      and 3572.



3.    The     Defendant           understands           that    the    obligations          of     the

      Government           within         the     Plea         Agreement       are        expressly

      contingent           upon     the    Defendant's· abiding              by      federal       and

      state        laws    and     complying with any bond executed                         in this

      case.        In the event that the Defendant fails to comply with

      any of the provisions of this Agreement,                              either express or

      implied,        the Government will have                   the    right,       at    its    sole

      election,           to     void     all     of     its     obligations         under        this

      Agreement           and    the    Defendant        will    not    have      ftny     right    to

      withdraw his plea of                 guilty to           the    offense (s)         enumerated

      herein.

                                Cooperation and Forfeiture

4.    The Defendant agrees                 to be        fully    truthful      and        forthright

      with federal,             state and local law enforcement agencies by

      providing full,              complete and truthful information about all

      criminal        activi ties         about     which       he    has   knowledge.             The

      Defendant            must        provide      full,        complete         and       truthful

      debriefings about these unlawful activities and must fully


                                                  -4­
4:15-cr-00868-RBH          Date Filed 07/26/16              Entry Number 70        Page 5 of 12




 disclose and provide truthful information to the Government

 including          any    books,          papers,          or     documents       or    any   other

 items        of    evidentiary value                   to        t·he    investigation.            The

 Defendant must also testify fully and truthfully before any

 grand        juries      and     at       any    trials          or     other    proceedings        if

 called        upon       to     do     so       by     the        Government,          subject      to

 prosecution for perjury for not testifying truthfully.                                             The

 failure           of     the     Defendant             to        be      fully    truthful         and

 forthright at any stage will,                              at the sole election of the

 Government,            cause the obligations of the Government within

 this Agreement             to become null                   and voi!d.           Further,     it    is

 expressly agreed that if the obligations 'of the Government

 within this Agreement become null and void due to the lack

 of truthfulness on the part of the Defendant,                                      the Defendant

 understands that:

         a.        the Defendant will                  not be permitted to withdraw

                   his     plea       of     guilty          to     the    offenses       described

                   above;

         b.        all    additional             charges          known     to    the    Government

                   may be filed in the appropriate district;

         c.        the Government will                      argue for a maximum sentence

                   for     the        offense          to     which        the    Defendant         has

                   pleaded guilty; and




                                                 -5­
     4:15-cr-00868-RBH      Date Filed 07/26/16           Entry Number 70                Page 6 of 12




             d.     the Government will use any and all                                       information

                    and testimony provided by the Defendant pursuant

                    to     this           Agreement,              or        any     prior           proffer

                    agreements,            in the prosecution of                         the Defendant

                    of all charges.

5.    The     Defendant         agrees           to      submit             to      such        polygraph

      examinations        as    may       be     requested             by    the     Government         and

      agrees that any such examinations shall,' be performed by a

      polygraph examiner selected by the Government.                                            Defendant

      further agrees that his refusal to take or his failure to

      pass    any   such       polygraph         examination                to     the    Government's

      satisfaction         will           result,        at        the       "Government s      I       sole

      discretion,        in,the obligations 9f the Government within the

      Agreement becoming null and void.

6.    The     Government             agrees            that        any            self~incriminating


      information provided by the Defendant as a                                         result of       the

      cooperation        required           by     the        terms         of     this        Agreement,
                                                                       \

      although available to the Court                         I   will not be used against

      the    Defendant         in    determining          the          Defendantts             applicable

      guideline      range          for     sentencing             pursuant              to     the     U.S.

      Sentencing Commission Guidelines.                                The provisions of                this

      paragraph      shall          not     be     applied             to" restrict             any     such

      information:




                                                 -6­
     4:15-cr-00868-RBH         Date Filed 07/26/16          Entry Number 70              Page 7 of 12




              a.    known to the Government prior to the date of this

                    Agreement;

              b.    concerning the existence of prior convictions and

                    sentences;

              c.    in a        prosecution          for        perj ury         or   giving       a    false

                    statement; or

              d.     in      the     event    the        Defendant .breaches                any        of   the

                    terms of the Plea Agreement.

7.    Provided          the         Defendant        cooperates                  pursuant         to        the

      provisions of this Plea Agreement                          I    and that cooperation is

      deemed       by         the     Government            as            providing         substantial

      assistance        in     the    investigation or prosecution of                              another

      person   I   the       Government           agrees        to        move     the     Court       for      a

      downward      departure          or     reduction              of    sentence        pursuant           to

      United       States          Sentencing            Guidelines              §5K1.11      Title          18 1

      United States Code I              §    3553 (e)       or Federal Rule of Criminal

      Procedure 35 (b) .             Any such motion by the Government is not

      bindi?g      upon        the    Court   I     and     should           the      Court    deny          the

      motion l     the Defendant will                    have    no       right       to withdraw his

      plea.


8.    The Defendant agrees                  to voluntarily surrender tO I                          and not

      to contest the forfeiture by I                       the United States of America

      of   any     and all          assets    and property,                 or portions           thereof       I




                                                   -7­
4:15-cr-00868-RBH        Date Filed 07/26/16            Entry Number 70              Page 8 of 12




 owned or purchased by the Defendant which are                                             subj ect      to

 forfeiture pursuant to any provision of law and which are

 in   the     possession              or     control            of        the        Defendant           or

 Defendant's            nominee~.          The          assets            to        be         ·forfeited

 specif       ly        include,       but        are     not        limited             to,     a    money

 judgment     in    an     amount          to      be    determined                 by     the       Court,

 representing the amount of gross proceeds of the offense(s)

 of conviction.



 Following        the     entry       of     this        plea" agreement,                      defendant

 agrees to the Court 's prompt entry of a                                  Preliminary Order

 of Forfeiture incorporating a money judgment as mandated by

 Fed.R.Crim.P..         32.2,    which shall in any event,                               be" submitted

 for entry before sentencing.                           Defendant acknowledges                         that

 he   understands          that       the       entry       of        a        forfeiture             money

 judgment    is part of            the sentence that will be imposed in

 this case,       and waives any failure by the Court to advise

 him of this,       pursuant to Rule 11(b) (1) (J)                             or otherwise,             at

 any time his guilty plea is accepted.



 The Defendant agrees that the United States shall,                                                  at its

 option,     be    entitled           to     the        forfeiture             of    any         property

 (substitute assets) of the Defendant up to the value of the

 money     judgment.            The    Court       shall" retain                jurisdiction             to


                                            -8­
     4:15-cr-00868-RBH       Date Filed 07/26/16        Entry Number 70        Page 9 of 12




      settle    any     disputes       arising              from    application          of     this

      clause.        The Defendant agrees that forfeiture of substitute

      assets     as     authorized        herein            shall     not     be       deemed     an

        teration       of      the   Defendant's              sentence.       The       Defendant

      understands       that    he   is     jointly and             severally          liable    for

      payment of the money judgment, along with any co-defendants

      against whom a money judgment is imposed.



      The     Defendant       agrees      to         take     all    steps     nec~ssary          to
                                                                                   •
      identify and -locate all substitute assets' and to transfer

      custody    of     such    assets      to       the     United    States          before    the

      Defendant's sentencing.               The Defendant agrees                   to take all

      steps necessary to assist the government in obtaining clear

      title     to    any     substitute         assets        before       the        Defendant's

      sentencing.       In     addition        to     providing        full       and     complete

      information about          substitute assets,                 these steps           include,

      but are not limited to, the surrender of title,                               the signing

      of a consent decree of forfeiture,and signing                                o~   any other

      documents necessary to effectuate such transfers.

                            Merger and Other Provisions

9.    The Defendant represents to the court that he has met with

      his attorney on a sufficient number of occasions and for a

      sufficient period of time to discuss the Defendant's case

      and   receive advice;          that      the Defendant            has    been truthful


                                               -9­
      4:15-cr-00868-RBH      Date Filed 07/26/16         Entry Number 70             Page 10 of 12




        with his attorney and related all information of which the

        Defendant     is     aware          pertaining         to    the        case;       that       the

        Defendant      and       his        attorney          have        discussed           possible

        defenses,     if     any,         to     the     charges          in     the       Indictment

        including     the    existence           of     any    exculpatory            or    favorable

        evidence or witnesses, discussed the Defendant's right to a

        public   trial      by    jury or by            the    Court,          the    right      to    the

        assistance of counsel throughout the proceedings,                                   the right

        to    call   witnesses         in      the    Defendant's          behalf          and    compel

        their    attendance         at       trial      by     subpoena,             the    right       to

        confront and cross-examine the government's witnesses,                                         the

        Defendant's       right      to      testify      in    his       own .behalf,            or    to

        remain silent and have no adverse inferences drawn from his

        silence;     and     that        the     Defendant,          with        the       advice       of

        counsel,     has weighed the relative benefits· of a                                 trial by

        jury or by the Court versus a plea of guilty pursuant to

        this Agreement,          and has entered this Agreement as a matter

        of the Defendant's free and voluntary choice,                                  and not as a

        result of pressure or intimidation by any person.

10.     The Defendant is aware that 18 U.S.C.                         §    3742 and 28 U.S.C.

        §    2255 afford every defendant certain rights to contest a

        conviction     and/or        sentence.           Acknowledging               those       rights,

        the Defendant,        in exchange for the concessions made by the

        Government     in     this       Plea        Agreement,       waives         the     right      to


                                                 -10­
      4:15-cr-00868-RBH          Date Filed 07/26/16            Entry Number 70            Page 11 of 12




       contest either the conviction or the sentence in any direct

       appeal       or     other       post-conviction                action,              including         any

       proceedings under 28 U.S.C.                          §    2255.        This waiver does not

       apply       to     claims       of   ineffective              assistance              of       counsel,

       prosecutorial misconduct, or future changes in the law that

       affect       the    defendant's           sentence.          This       agreement              does   not

       affect the rights or obligations of the Government as set

       forth       in     18    U.S.C.      §        3742(b).       Nor        does        it        limit. the

       Government         in     its   comments             in or    responses              to       any    post

       sentencing matters.

11.    The Defendant waives all rights,                            whether asserted directly

       or     by   a     representative,              to     request      or     receive              from    any

       department          or    agency         of     the       United        States           any     records

       pertaining          to    the     investigation              or        prosecution              of    this

       case,       including without limitation any' records that may be

       sought       under       the    Freedom of               Information Act,                 5    U.S.C.       §

        552, or the Privacy Act of 1974, 5 U.S.C.                               §     552a.

12.    The part             hereby agree that this Plea Agreement contains

        the   entire agreement of                    the parties i        i
                                                                              that     >
                                                                                           this Agreement

        supersedes             all     prior          promises,            representations                    and

        statements of the parties; that this Agreement shall not be

       binding on any party until the Defendant tenders a plea of

       guilty to the court having jurisdiction over this matter i

       that this Agreement may be modified only in writing signed


                                                     -11­
       4:15-cr-00868-RBH   Date Filed 07/26/16     Entry Number 70     Page 12 of 12




         by   all   partiesj    and     that     any   and   all     other   promises,

         representations       and     statements,     whether       made    prior     to,

         contemporaneous with or after this Agreement,                  are null and

         void.




                                                              DEFENDANT


DATEi'    7
                                     ATTORNEY FOR THE DEFENDANT


                                     BETH DRAKE



                                        ·                    '.'
                                     ACTING UNITED STATES ATTORNEY
                                                     H CAROLINA


Date
                           r
                           .         JOHN C.   TTERFIELD (#6472)
                                     ASSISTANT UNITED STATES ATTORNEY




                                          -12­
